                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      No.:   2:09-CR-045
                                                 )
ADRIAN DORSEY                                    )

                           MEMORANDUM AND ORDER

       This criminal case is before the court on the defendant’s pro se motion for

sentence reduction [doc. 978]. The defendant asks the court to resentence him pursuant

to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to the United

States Sentencing Guidelines Manual (“U.S.S.G.” or “sentencing guidelines”).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

effective on November 1, 2014, identified Amendment 782 as retroactive.           See id.,

amend. 788.

       The United States has responded in opposition to the defendant’s motion [doc.

980]. The United States argues that the defendant is not eligible for a sentence reduction

because Amendment 782 has no effect on his statutorily-mandated term of imprisonment.




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I.    Background

      By judgment dated July 5, 2011, this court sentenced the defendant to a net term

of imprisonment of 120 months as to Counts One and Two (cocaine offenses). The

statute of conviction imposed a mandatory sentence of 120 months. The defendant’s

guideline range became 120 to 120 months because the statutory minimum was greater

than the range otherwise applicable in this case. See U.S.S.G. § 5G1.1(b).

II.   Analysis

      District courts have discretion to reduce the sentence “of a defendant who has

been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission . . . , if such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.” 18

U.S.C. § 3582(c)(2).

      In the present case, the defendant was not sentenced based on a guideline range

that has since been lowered by the Sentencing Commission. Instead, his guideline range

was the lowest possible term of imprisonment allowed by his statute of conviction.

Amendment 782 does not lower any statutory penalties.

      Further, a sentence reduction under § 3582(c) for this defendant would not be

consistent with the Sentencing Commission’s applicable policy statements. Application

Note 1(A) to guideline 1B1.10 explains in relevant part that




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       a reduction in the defendant’s term of imprisonment is not authorized under
       18 U.S.C. § 3582(c)(2) and is not consistent with this policy statement if . .
       . [a guideline amendment] is applicable to the defendant but the amendment
       does not have the effect of lowering the defendant’s applicable guideline
       range because of the operation of another guideline or statutory provision
       (e.g., a statutory mandatory minimum term of imprisonment).

       The defendant’s guideline range has not been lowered as a result of Amendment

782’s revision of the sentencing guidelines’ § 2D1.1 Drug Quantity Table. Because the

defendant’s sentence was based on a statutory mandatory minimum rather than on

U.S.S.G. § 2D1.1, he is ineligible for an Amendment 782 sentence reduction. See, e.g.,

United States v. McPherson, 629 F.3d 609, 611-12 (6th Cir. 2011).

III.   Conclusion

       For the reasons stated herein, the defendant’s motion for sentence reduction [doc.

978] is DENIED.

              IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge




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